     Case 1:17-cv-01932-TSC Document 34-1 Filed 03/07/19 Page 1 of 1




                          TABLE OF CONTENTS

DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
   ITS CROSS-MOTION AND OPPOSITION TO PLAINTIFF’S MOTION FOR
                      SUMMARY JUDGMENT

BACKGROUND…………………………………………………………………………………1

STANDARD OF REVIEW...……………………………………………………………………5

    1)    Summary Judgment……..………………………………………………………5

    2)    MSPB Jurisdiction……………………………………………………………….6

ARGUMENT………………..……………………………………………………………………7

    1)    The MSPB Properly Found That It Lacked Jurisdiction Because
          Substantial Record Evidence Showed Mr. Perry Voluntarily Accepted
          His Suspension And Resignation ………………………………………………..7

    2)    The MSPB Properly Declined To Order a Jurisdictional Hearing On Mr.
          Perry’s Claim That The Agency Knew It Could Not Substantiate His
          Proposed Removal Because Such Claim Did Not Constitute a
          Nonfrivolous Allegation Of Coercion …………………………………..……...10

CONCLUSION …………………………………………………………………………………12




                                     i
